 Case 2:23-cv-00436-JRG Document 10 Filed 12/08/23 Page 1 of 1 PageID #: 113




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,                        §
                                                   §
                                                   §
                Plaintiff,                         §
                                                   §
          v.                                       §   CIVIL ACTION NO. 2:23-CV-00436-JRG
                                                   §
SMOOTHIE KING FRANCHISEES, INC.,                   §
                                                   §
                Defendant.                         §
                                             ORDER

       Before the Court is the Joint Stipulation of Dismissal of All Claims With Prejudice (the

“Stipulation”) filed jointly by Plaintiff and Defendant pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). (Dkt. No. 9.) In the Stipulation, the parties stipulate to dismiss “[a]ll claims

asserted by Plaintiff in the above-captioned action … with prejudice.” (Id. at 1.)

       Having considered the Stipulation, the Court ACCEPTS AND ACKNOWLEDGES that

all claims and causes of action asserted by Plaintiff against Defendant in the above-captioned case

are DISMISSED WITH PREJUDICE. Each party is to bear its own costs, expenses, and

attorneys’ fees. All pending requests for relief in the above-captioned case not explicitly granted

herein are DENIED AS MOOT.

       The Clerk of Court is directed to CLOSE the above-captioned case as no parties or claims

remain.

          So Ordered this
          Dec 8, 2023
